Case 3:12-cr-30242-SMY      Document 122 Filed 01/31/13        Page 1 of 2   Page ID
                                      #263



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

vs.

VINCENTE LOPEZ,
     a/k/a “Chente,”

Defendant.                                          No. 12-cr-30242-09-DRH


                              ORDER OF REMOVAL

      This matter comes before the Court for imposition of sentence.              The

government has filed a motion seeking a Judicial Order of Removal from the

United States (Doc. 118). This Court makes the following FINDINGS:

      (1)    On January 23, 2013, defendant entered a plea of guilty to Count 1 of

the Indictment charging Conspiracy to Distribute and Possess With the Intent to

Distribute five kilograms or more of a mixture or substance containing Cocaine

(Count 1).

      (2)    At the time of his plea, defendant admitted that he is a citizen of

Mexico who is in the United States illegally.

      (3)    Defendant was notified, prior to the entry of his plea in this case, that

the Government intended to request judicial removal.

      (4)    As a result of his convictions in the instant case, defendant is

deportable pursuant to the provisions of Title 8, United States Code, Section

1227(a)(2)(B).

                                     Page 1 of 2
Case 3:12-cr-30242-SMY     Document 122 Filed 01/31/13      Page 2 of 2     Page ID
                                     #264



      (5)   This Court has jurisdiction to enter a judicial order of removal at the

time of sentencing pursuant to the provisions of Title 8, United States Code,

Section 1228(c)(1).

      Accordingly, the Court GRANTS the government’s motion (Doc. 118) and it

is ORDERED that defendant be removed from the United States promptly upon

the satisfaction of his sentence in this case.        Immigration and Customs

Enforcement, U.S. Department of Homeland Security is hereby authorized to

execute this Order of Removal according to the applicable laws and regulations of

the United States.

                                                                  Digitally signed by
      IT IS SO ORDERED.                                           David R. Herndon
                                                                  Date: 2013.01.31
      Signed this 31st day of January, 2013.
                                                                  14:51:29 -06'00'

                                             Chief Judge
                                             United States District Court




                                    Page 2 of 2
